                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

In Re: Eric D. Hughes                                       Case No. 22-44659-mlo
       Laura Johnson-Hughes                                 Chapter 13
                                                            Hon. Maria L. Oxholm
                  Debtors.
_____________________________/

                  OBJECTION TO CHAPTER 13 PROOF OF CLAIM NO. 7
                    OF U.S. BANK TRUST NATIONAL ASSOCIATION,
                  AS TRUSTEE OF THE BUNGALOW SERIES IV TRUST

       Eric D. Hughes and Laura Johnson-Hughes, Debtors herein, by and through their
attorneys, Berman & Bishop, PLLC, by Jack Berman respectfully objects to the Proof of Claim
No. 7 of U.S. Bank Trust National Association, as Trustee of the Bungalow Series IV Trust filed
on July 26, 2022 and states as follows:

       1. That this case was filed on June 10, 2022.
       2. That said mortgage creditor filed its proof of claim for the debtors residence located
          at 45594 Bristol Circle, Novi, Michigan 48377.
       3. That said creditor claims the following:
              a. Total balance: $61,652.92
              b. Arrearage: $14,511.93
              c. Current payment: $1,040.97 of which $831.87 is an escrow account for
              payment of property tax and insurance (page 4 of Proof of Claim 7).
       4. That the first mortgage creditor, CitiMortgage filed proof of Claim 8 on July 27, 2022
       demanding the same escrow payment on page 4 of its Proof of Claim.
       5.   That the undersigned has communicated with each of these creditors requesting a
       resolution of the demand for multiple escrow accounts to pay the same insurance and
       property tax and has not received a reply.
       6.   That it is impossible that there can be two separate escrow accounts to pay the
       same property tax and insurance as the said mortgage companies are, and have for
       several years in the past, created an excessive and untrue arrearage based upon these
       miscalculated escrow accounts.
       7. That debtors are incurring attorney fees through the fault of the mortgage creditor.

       WHEREFORE, Debtors request that the arrearage on this account be reduced to
$2,120.00, the balance owed on the mortgage be reduced to $26,500.00 and that the current
mortgage payment be reduced to $209.10 with Debtors to pay property tax and insurance on
their own to properly pay the mortgage and that attorney fees in the mount of $1,200.00 be
awarded to the undersigned.



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Dated: December 7, 2022                /s/ Jack Berman________________
                                       Jack Berman (P10737)
                                       Attorney for Debtors
                                       24405 Gratiot Ave.
                                       Eastpointe, MI 48021
                                       (586) 775-0600
                                       bermanbishop@gmail.com




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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In Re: Eric D. Hughes                                      Case No. 22-44659-mlo
       Laura Johnson-Hughes                                Chapter 13
                                                           Hon. Maria L. Oxholm
                  Debtors.
_____________________________/

               ORDER GRANTING OBJECTION TO PROOF OF CLAIM NO. 7
                   OF U.S. BANK TRUST NATIONAL ASSOCIATION,
                 AS TRUSTEE OF THE BUNGALOW SERIES IV TRUST

       Upon the reading and filing of Debtor’s Objection to Proof of Claim No. 7 of U.S. Bank
Trust National Association, as Trustee of the Bungalow Series IV Trust which was presented to
this Court pursuant to Bankruptcy Rule 3007, and no responses having been filed to the said
Objections and a Certificate of No Response having been filed with this Court;

       NOW THEREFORE, IT IS HEREBY ORDERED THAT:

       The objection to the Proof of Claim filed by the above-referenced creditor is hereby
granted.  To the extent that the Chapter 13 Standing Trustee has previously made
disbursements to such creditor, the Trustee shall not be obligated to recoup same.

       IT IS FURTHER ORDERED as follows:

       1.     That the delinquency portion of the Chapter 13 Proof of Claim No. 7 is reduced to
              $2,120.00;
       2.     The current monthly mortgage payment is reduced to $209.10 per month;
       3.     The total claim amount is reduced to $26,500.00;
       4.     Attorney fees in the amount of $1,200.00 shall be paid by this mortgage creditor
              to Jack Berman forthwith.
       5.     It shall not be the responsibility of the Chapter 13 Trustee to recoup funds
              previously paid to said Creditor, if any.




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                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

In Re: Eric D. Hughes                                             Case No. 22-44659-mlo
       Laura Johnson-Hughes                                       Chapter 13
                                                                  Hon. Maria L. Oxholm
                  Debtors.
_____________________________/

                          NOTICE OF OBJECTION TO CLAIM NO. 7
                       OF U.S. BANK TRUST NATIONAL ASSOCIATION,
                     AS TRUSTEE OF THE BUNGALOW SERIES IV TRUST

         Eric D. Hughes and Laura Johnson-Hughes, Debtors herein, have filed an objection to your claim
in this bankruptcy case.

       Your claim may be reduced, modified, or denied. You should read these papers carefully
and discuss them with your attorney, if you have one.

        If you do not want the Court to deny or change your claim, then on or before January 23, 2023,
you or your lawyer must:

       1.      File with the court a written response to the Objections, explaining your position at:
                                     United States Bankruptcy Court
                                      211 W. Fort Street, Suite 2100
                                              Detroit, MI 48226

               If you mail your response to the court for filing, you must mail it early
               enough so the court will receive it on or before the date stated above.

               You must also mail a copy to:

               JACK BERMAN (P10737)                               TAMMY L. TERRY (P46254)
               Attorney for Debtors                               Standing Chapter 13 Trustee
               24405 Gratiot Ave.                                 535 Griswold, Suite 2100
               Eastpointe, MI 48021                               Detroit, MI 48226
               (586) 775-0600                                     (313) 967-9857

       2.      Attend the hearing on the Objection, scheduled to be held on January 30, 2023 at 9:00
               a.m. in Courtroom 1875, 211 West Fort Street, Detroit, Michigan, unless your
               attendance is excused by mutual agreement between yourself and the objector’s
               attorney. If you or your attorney do not take these steps, the court may deem that
               you do not oppose the objection to your claim, in which event the hearing will be
               canceled, and the objection sustained.

Dated: December 7, 2022                          /s/ Jack Berman
                                                 JACK BERMAN (P10737)
                                                 Attorney for Debtors
                                                 24405 Gratiot Ave.
                                                 Eastpointe, MI 48021
                                                 (586) 775-0600
                                                 bermanbishop@gmail.com




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       Laura Johnson-Hughes                                 Chapter 13
                                                            Hon. Maria L. Oxholm
                  Debtors.
_____________________________/

                                  CERTIFICATE OF SERVICE

       The undersigned, being first duly sworn, deposes and says that on December 7, 2022,
she served electronically and/or by United States Mail, postage prepaid, a copy of the following:

DOCUMENT(S):                  Objection to Proof of Claim No. 7 of U.S. Bank Trust National
                              Association, as Trustee of the Bungalow Series IV Trust

ADDRESSEE(S):                 TAMMY L. TERRY
                              Standing Chapter 13 Trustee
                              535 Griswold, Suite 2100
                              Detroit, MI 48226
                              (313) 967-9857

                              U.S. Bank Trust National Association,
                              as Trustee of the Bungalow Series IV Trust
                              c/o SN Servicing Corporation
                              323 Fifth Street
                              Eureka, CA 95501

                              Sottile and Barile, Attorneys at Law
                              394 Wards Corner Road, Suite 180
                              Loveland, OH 45140

       I DECLARE THE ABOVE STATEMENTS ARE TRUE AND ACCURATE TO THE BEST
OF MY INFORMATION, KNOWLEDGE AND BELIEF.

Dated: December 7, 2022                                     /s/ K. Rae Dahn__________
                                                            Senior Paralegal
                                                            Berman & Bishop, PLLC
                                                            24405 Gratiot Ave.
                                                            Eastpointe, MI 48021
                                                            (586) 775-0600
                                                            bermanbishop@gmail.com




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